          Case 2:22-cv-04732-SRC-CLW Document 22 Filed 10/27/22 Page 1 of 3 PageID: 433




                                       UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW JERSEY

           Rigel Pharmaceuticals, Inc.,                 :
                                                        :         Civil Action No. 2:22-cv-04732-EP-CLW
                                  Plaintiff,            :
                                                        :
                                                        :
           v.                                           :
                                                        :
                                                        :         PRETRIAL SCHEDULING ORDER
                                                        :
                                                        :
           Annora Pharma Private Ltd. et al.,           :
                             Defendants.                :
                                                        :


                  THIS MATTER having come before the Court for a scheduling conference pursuant to
           Rule 16 of the Federal Rules of Civil Procedure on October 27, 2022, and the parties having
           reviewed the Court’s Civil Case Management Order as well as the Local Civil Rules, and for
           good cause shown,

                                          10/27/22
                   IT IS on this day of _________,

                  ORDERED THAT the next event in this matter will be __________________; and
 The Court will hold a telephone conference, on 2/23/23 at 10:30am Parties are to use the Courts teleconference dial-in:
888-808-6929 and Access Code is 9464201.
                  FURTHER ORDERED that this matter will proceed as follows:


          1.     Rule 26 Disclosures. The parties shall exchange disclosures pursuant to Rule 26 no later
                 than November 3, 2022.

          2.     Contentions. Plaintiff shall identify asserted claims no later than November 3, 2022.
                 Defendant shall serve non-infringement and invalidity contentions no later than December
                 31, 2022. Plaintiff shall serve infringement contentions and respond to invalidity contentions
                 no later than March 30, 2023.

          3.     Claim Construction. The parties shall exchange proposed terms for construction no later
                 than April 13, 2023. The parties shall exchange preliminary proposed constructions and
                 identifications of intrinsic and extrinsic evidence in support of their proposed constructions
                 no later than May 4, 2023. The parties shall exchange an identification of all intrinsic
                 evidence and extrinsic evidence that each party intends to rely upon to oppose any other
                 party’s proposed construction no later than May 18, 2023. The parties shall file a Joint Claim
                 Construction and Prehearing Statement no later than June 5, 2023. The parties shall
                                                            -1-
Case 2:22-cv-04732-SRC-CLW Document 22 Filed 10/27/22 Page 2 of 3 PageID: 434




      complete fact discovery related to claim construction no later than July 5, 2023. The parties
      shall file Opening Markman submissions, including any expert declarations no later than
      July 20, 2023. The parties shall complete expert discovery regarding Markman issues no
      later than August 21, 2023. The parties shall file Responsive Markman submissions no later
      than September 18, 2023. The parties shall confer and propose to the Court a schedule for a
      Claim Construction Hearing, if necessary, no later than October 2, 2023.

4.    Motions to Add New Parties. Any motion to add new parties, whether by amended or third-
      party complaint, must be electronically filed no later than October 2, 2023.

5.    Motions to Amend Pleadings. Any motion to amend pleadings must be electronically filed
      no later than October 2, 2023.

6.    Interrogatories. The parties may serve interrogatories limited to 25 single questions
      including subparts, on or before 30 days prior to the close of fact discovery, which shall be
      responded to within 30 days of service thereof.

7.    Document Requests. The parties may serve requests for production of documents on or
      before 30 days prior to the close of fact discovery, which shall be responded to within 30
      days of service thereof.

8.    Depositions. The number of depositions to be taken by each side shall not exceed 10.

9.    Electronic Discovery. The parties are directed to Rule 26(f), as amended, which, inter
      alia, addresses preservation of discoverable information, discovery of electronically stored
      information, and claims of privilege or work product protection. The parties are also
      directed to Local Civil Rule 26.1(d) which describes the obligations of counsel with regard
      to their clients’ information management systems.

10.   Discovery Disputes. Please refer to the Court’s Civil Case Management Order.

11.   Motion Practice. Please refer to the Court’s Civil Case Management Order.

12.   Fact Discovery Deadline. Fact discovery is to remain open through the later of a Markman
      decision or June 1, 2024. All fact witness depositions must be completed by the close of fact
      discovery. No discovery is to be issued or engaged in beyond that date, except upon
      application and for good cause shown.

13.   Expert Reports. All affirmative expert reports shall be delivered by 60 days after the close
      of fact discovery. All responsive expert reports shall be delivered by 60 days after opening
      expert report. All reply expert reports shall be delivered by 30 days after responsive expert
      reports. Depositions of all experts to be completed by 60 days after reply expert reports.

14.   Form and Content of Expert Reports. All expert reports must comport with the form and
      content requirements set forth in Rule 26(a)(2)(B). No expert shall testify at trial as to any
      opinions or base those opinions on facts not substantially disclosed in the expert’s report.

                                                -2-
Case 2:22-cv-04732-SRC-CLW Document 22 Filed 10/27/22 Page 3 of 3 PageID: 435




15.   Extensions and Adjournments. Please refer to the Court’s Civil Case Management Order.

16.   Protective Orders. Any proposed confidentiality order agreed to by the parties must strictly
      comply with Rule 26(c), Local Civil Rule 5.3, and applicable case law. Please also refer to
      the Court’s Civil Case Management Order.

17.   Local Rules. The parties are directed to the Local Civil Rules for any other matter not
      addressed by this Order or the Court’s Civil Case Management Order

18.   FAILURE TO COMPLY WITH THE TERMS OF THIS ORDER OR ANY OTHER
      ORDERS WILL RESULT IN SANCTIONS.




                                             s/Cathy L. Waldor
                                            CATHY L. WALDOR
                                            United States Magistrate Judge




                                               -3-
